                                       United States Bankruptcy Court
                                         Northern District of Ohio
In re:                                                                                  Case No. 19-51660-amk
Tamara Lynn Zolnowski                                                                   Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0647-5           User: admin                  Page 1 of 2                   Date Rcvd: Jul 22, 2019
                               Form ID: 309A                Total Noticed: 38


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 24, 2019.
db             +Tamara Lynn Zolnowski,    5020 Grafton Road,    Brunswick, OH 44212-6209
tr             +Harold A. Corzin,    304 N Cleveland-Massillon Road,     Commonwealth Square,
                 Akron, OH 44333-9302
26142825       +Aris,   PO Box 75648,    Cleveland, OH 44101-4201
26142826       +Aris Radiology,    PO Box 540655,    Omaha, NE 68154-0655
26142828       +Bayless Pathmark,    Box 93825,    Cleveland, OH 44101-5825
26142837       +Commonwealth Financial Systems,     245 Main St.,    Scranton, PA 18519-1641
26142838        Community Hospital,    P.O. Box 72233,    Bay Village, OH 44140
26142840       +FBCS,   330 S. Warminster Rd.,     Suite 353,   Hatboro, PA 19040-3433
26142843        First Federal Credit Control,     2470 Chagrin Boulevard,     Suite 205,   Beachwood, OH 44122
26142845       +Javitch, Block,    1100 Superior Avenue,    19th Floor,    Cleveland, OH 44114-2521
26142847       +Magis Emergency Medicine LLC,     5700 Darrow Rd.,    Suite 106,    Hudson, OH 44236-5026
26142848       +Medical Mutual,    2060 East Ninth St,    Cleveland, OH 44115-1355
26142851       +Merchant’s Credit Association,     223 W. Jackson,    Chicago, IL 60606-6908
26142852       +Michael Banks MD,    7255 Old Oak Blvd C405,    Cleveland, OH 44130-3331
26142854       +NPAS, INC.,   POB 99400,    Louisville, KY 40269-0400
26142855        OAC,   PO Box 371100,    Milwaukee, WI 53237-2200
26142856       +Ohio Anesthesia Group,    POB 715128,    Columbus, OH 43271-0001
26142857       +Phoenis Financial Services,     8902 Otis Ave,    Suite 103A,    Indianapolis, IN 46216-1009
26142860       +Southwest General,    Box 632701,     Cincinnati, OH 45263-2701
26142861       +Southwest General Medical Group,     PO Box 638269,    Cincinnati, OH 45263-8269
26142862        University Hospital,    Dept. 0750,    Denver, CO 80256-0750
26142863       +University Hospitals Parma Medical,     BOX 931242,    Cleveland, OH 44193-1471

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: dean@selectlegal.com Jul 22 2019 23:39:09        Dean D. Paolucci,     1 Cascade Plaza,
                 suite 1015,    Akron, OH 44308
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Jul 22 2019 23:41:38         Cynthia J. Thayer,
                 US Department of Justice,     201 Superior Avenue,    Suite 441,    Cleveland, OH 44114-1234
26142829       +E-mail/Text: bkmailbayview@bayviewloanservicing.com Jul 22 2019 23:43:23
                 Bayview Loan Servicing,    4425 Ponce De Leon Blvd.,     5th flr.,    Miami, FL 33146-1837
26142832        E-mail/Text: bankruptcy@cavps.com Jul 22 2019 23:43:11        Cavalry Portfolio Service,
                 POB 27288,   Tempe, AZ 85285
26142834        EDI: CITICORP.COM Jul 23 2019 02:58:00       Citi Cards,    PO Box 6402,
                 The Lakes, NV 88901-6402
26142831       +EDI: CAPITALONE.COM Jul 23 2019 02:58:00       Capital One,    POB 30281,
                 Salt Lake City, UT 84130-0281
26142830       +EDI: CAPITALONE.COM Jul 23 2019 02:58:00       Capital One,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
26142833       +E-mail/Text: compliance@chaserec.com Jul 22 2019 23:44:00         Chase Receivables,
                 1247 Broadway,    Sonoma, CA 95476-7503
26142835       +E-mail/Text: Bk@c2cfsi.com Jul 22 2019 23:42:43        Coast to Coast Financial Solutions,
                 101 Hodencamp Rd,    Thousand Oaks, CA 91360-5831
26142836       +EDI: WFNNB.COM Jul 23 2019 02:58:00       Comenity Bank,    POB 182789,    Columbus, OH 43218-2789
26142839       +EDI: CMIGROUP.COM Jul 23 2019 02:58:00       Credit Management,     POB 118288,
                 Carrollton, TX 75011-8288
26142850        E-mail/Text: jfaba@medinaco.org Jul 22 2019 23:39:21        Medina County Sanitary Engineers,
                 791 W Smith Road,    POB 542,    Medina, OH 44258
26142849       +EDI: PARALONMEDCREDT Jul 23 2019 02:58:00       Medicredit INC,     po box 1629,
                 Maryland Heights, MO 63043-0629
26142853        EDI: MID8.COM Jul 23 2019 02:58:00       Midland Credit Management,     Department 8870,
                 Los Angeles, CA 90084-8870
26142858        EDI: PRA.COM Jul 23 2019 02:58:00       Portfolio Recovery,    120 Corporate Blvd,     Suite 100,
                 Norfolk, VA 23502
26142859        E-mail/Text: bk@revenuegroup.com Jul 22 2019 23:43:38        Revenue Group,
                 3700 Park East Drive Ste 240,     Beachwood, OH 44122
                                                                                                 TOTAL: 16

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
26142827     ##+Avante USA,   2950 S. Gessner Rd.,    Suite 265,   Houston, TX 77063-3751
26142841     ##+Fidelity Collections,   POB 2055,    Alliance, OH 44601-0055
26142842     ##+Fidelity National Collections,    220 E Main Street,   POB 2055,   Alliance, OH 44601-0055
26142844     ##+Gold Key Credit,   16070 Aviation Loop Dr.,    Brooksville, FL 34604-6802
26142846     ##+Life Care Medical Services,    3755 Boettler Oaks Drive,   Suite E-2,   Uniontown, OH 44685-9597
                                                                                             TOTALS: 0, * 0, ## 5

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.      Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


        19-51660-amk       Doc 6     FILED 07/24/19       ENTERED 07/25/19 00:23:01            Page 1 of 4
District/off: 0647-5                  User: admin                        Page 2 of 2                          Date Rcvd: Jul 22, 2019
                                      Form ID: 309A                      Total Noticed: 38


              ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 24, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 22, 2019 at the address(es) listed below:
              Dean D. Paolucci   on behalf of Debtor Tamara Lynn Zolnowski dean@selectlegal.com
              Harold A. Corzin   hcorzin@csu-law.com, ccorzin@aol.com;oh32@ecfcbis.com
                                                                                            TOTAL: 2




          19-51660-amk           Doc 6       FILED 07/24/19            ENTERED 07/25/19 00:23:01                    Page 2 of 4
Information to identify the case:
Debtor 1              Tamara Lynn Zolnowski                                             Social Security number or ITIN        xxx−xx−0057
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Ohio
                                                                                        Date case filed for chapter 7 7/17/19
Case number:          19−51660−amk


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Tamara Lynn Zolnowski

2.      All other names used in the
        last 8 years

3.     Address                               5020 Grafton Road
                                             Brunswick, OH 44212

4.     Debtor's attorney                     Dean D. Paolucci                                       Contact phone 330−474−9529
                                             1 Cascade Plaza
       Name and address                      suite 1015                                             Email: dean@selectlegal.com
                                             Akron, OH 44308

5.     Bankruptcy trustee                    Harold A. Corzin                                       Contact phone (330) 670−0770
                                             304 N Cleveland−Massillon Road
       Name and address                      Commonwealth Square                                    Email: hcorzin@csu−law.com
                                             Akron, OH 44333
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




     19-51660-amk                  Doc 6         FILED 07/24/19          ENTERED 07/25/19 00:23:01                       Page 3 of 4
Debtor Tamara Lynn Zolnowski                                                                                         Case number 19−51660−amk


6. Bankruptcy clerk's office                    455 John F. Seiberling Federal Building                       Hours open:
                                                US Courthouse                                                 9:00 AM − 4:00 PM
    Documents in this case may be filed at this 2 South Main Street
    address. You may inspect all records filed Akron, OH 44308                                                Contact phone 330−252−6100
    in this case at this office or online at
    www.pacer.gov.
    www.ohnb.uscourts.gov.                                                                                    Date: 7/22/19

7. Meeting of creditors                          September 6, 2019 at 11:30 AM                                Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a later date.   John F. Seiberling U.S.
    questioned under oath. In a joint case,      If so, the date will be on the court docket.                 Courthouse, Suite B3−61, 2
    both spouses must attend. Creditors may
    attend, but are not required to do so.                                                                    South Main Street, Akron, OH
                                                 *** Valid photo identification required ***                  44308
                                                 *** Proof of Social Security Number required ***


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 11/5/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                            Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as          conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2




     19-51660-amk                   Doc 6        FILED 07/24/19               ENTERED 07/25/19 00:23:01                          Page 4 of 4
